                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )     CASE NO. 3:13-00090
                                                   )     JUDGE SHARP
MELVIN GARCIA-BELTRAN [15]                         )
                                                   )

                                         ORDER


       Pending before the Court is Defendant’s Motion to Set Hearing for Change of Plea

(Docket No. 235).

       The motion is GRANTED and a change of plea hearing is hereby scheduled for Tuesday,

November 12, 2013, at 1:30 p.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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